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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7        DROPLETS, INC.,                                  Case No. 12-cv-03733-JST
                                                          Plaintiff,
                                   8
                                                                                             ORDER CLARIFYING CLAIM
                                                   v.                                        CONSTRUCTION AND DENYING
                                   9
                                                                                             YAHOO! INC.’S AND OATH INC. /
                                  10        YAHOO! INC.,                                     OATH HOLDINGS, INC.'S MOTION
                                                                                             FOR SUMMARY JUDGMENT
                                                          Defendant.
                                  11
                                                                                             Re: ECF Nos. 760, 769
                                  12
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 United States District Court




                                  13            Before the Court are Plaintiff Droplets, Inc.’s motion to clarify claim construction and
                                  14   Defendant Yahoo! Inc’s and Intervenor Oath Inc. and Oath Holdings, Inc.’s motion for summary
                                  15   judgment. ECF Nos. 760, 769. The Court will clarify the claim construction and deny the
                                  16   summary judgment motion.
                                  17   I.       BACKGROUND
                                  18            In this patent infringement action, Droplets accuses Yahoo of infringing U.S. Patent No.
                                  19   6,687,745 (the “’745 Patent”).1 Claim 1, which is illustrative, recites:
                                  20
                                                In a network configured computer processing system having a plurality of client computers
                                  21            and a plurality of host computers, a method for delivering interactive links for presenting
                                                applications and information from remote sources on the network, the method comprising:
                                  22
                                                        retrieving, in response to a request of a client computer, over a first communication
                                  23                    connection first information having computer program code embedded therein and
                                                        executing the embedded computer program code for establishing a second
                                  24
                                                        communication connection to a second host computer;
                                  25

                                  26
                                  27   1
                                         The background of this case has been extensively described in prior orders, and the Court here
                                  28   summarizes only strictly relevant facts. See ECF Nos. 792 (explaining background of patent and
                                       invention), 749 (SDNY proceedings), No. 419 (role of intervening parties).
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                                                      sending second information relating to the operating environment of the client
                                   1                  computer, from the client computer to the second host computer;
                                   2
                                                      retrieving, over the second communication connection, third information including
                                   3                  presentation information for presenting an application and fourth information, the
                                                      presentation information being based on the second information;
                                   4
                                                      presenting, at the client computer, the application and the fourth information based
                                   5
                                                      upon the presentational information; and
                                   6
                                                      storing, on the client computer, an interactive link for selectively re-establishing the
                                   7                  second communication connection to the second host computer for retrieving the
                                                      third information and presenting the application and the fourth information.
                                   8

                                   9   ECF No. 1-1 (“’745 Patent”) at 29:65-30:25.
                                  10          Each asserted claim thus requires an “interactive link,” which the parties agree forms the
                                  11   heart of the invention. The parties sought to construe the term during claim construction, and the
                                  12   Court gave preclusive effect to the construction adopted in Droplets, Inc. v. E*Trade Financial
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                                  13   Corp., No. 1:12-cv-02326 (S.D.N.Y. May 13, 2011) (“E*Trade”) under the doctrine of collateral
                                  14   estoppel. ECF Nos. 412, 429. Thus, the Court construed “interactive link” as:
                                  15
                                                      computer code that (1) retrieves and presents applications and/or
                                  16                  information stored at remote locations across the network when selected
                                                      by an end user, and (2) includes facilities for restoring previous operating
                                  17                  states of the application as the application is re-presented at a user’s
                                                      computer. An interactive link cannot be a bookmark, cookie, shortcut,
                                  18                  hyperlink or Internet address (URL).
                                  19   Id.
                                  20          The parties continued to have differing interpretations of the term, and Yahoo moved to
                                  21   “confirm” two aspects of this construction. ECF No. 593. First, it sought to confirm that the
                                  22   “previous operating state” must be a “particular user’s previous operating state,” based on the
                                  23   E*Trade interpretation adopted at summary judgment. Id. at 21. Second, it sought to clarify that
                                  24   the interactive link cannot “use” a cookie, even if it is not itself a cookie. Id. at 14. The Court
                                  25   agreed on both counts and modified the construction as follows:
                                  26
                                                      computer code that (1) retrieves and presents applications and/or
                                  27                  information stored at remote locations across the network when selected
                                                      by an end user, and (2) includes facilities for restoring a particular user’s
                                  28                  previous operating states of the application as the application is re-
                                                                                           2
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                                                       presented at a user’s computer. An interactive link cannot be or use a
                                   1                   bookmark, cookie, shortcut, hyperlink or Internet address (URL).
                                   2   ECF No. 749 at 10.

                                   3            Yahoo now moves for summary judgment on each aspect of the modified construction. It

                                   4   argues that the accused products (1) do not restore a “particular user’s” previous operating state,

                                   5   and (2) use cookies. ECF No. 769. Droplets moved to further clarify the claim construction in

                                   6   light of the parties’ disputes. ECF No. 760. The Court first addresses claim construction and then

                                   7   the motion for summary judgment.

                                   8   II.      JURISDICTION

                                   9            This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

                                  10   III.     DROPLETS’ MOTION TO CLARIFY CLAIM CONSTRUCTION

                                  11            Droplets seeks to clarify that the disclaimed “use” of cookies, URLs, etc. is limited to

                                  12   “restoring locally stored operating states.” ECF No. 760 at 2. In other words, Droplets argues that
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                                  13   the accused system may use these elements – which it claims are “foundational building blocks”

                                  14   of the Internet – in ways that are unrelated the claimed invention. Id. at 13. Yahoo agrees that the

                                  15   disclaimed use is limited to restoring previous operating states. ECF No. 770 at 15 (“To be clear,

                                  16   Defendants’ position is that cookies cannot be used by the alleged ‘interactive link’ to restore the

                                  17   previous operating states of the application.”). However, it argues that “new uses” of restoring

                                  18   operating states via cookies (such as from non-local storage) are forbidden. See id.

                                  19            Thus, clarification is appropriate to make clear that the interactive link “cannot use a

                                  20   cookie to restore previous operating states.” The question remains whether the operating states

                                  21   must be “locally stored.” The specification which formed the basis of the disclaimer that led to

                                  22   collateral estoppel indicates that cookies store operating states locally. It states:

                                  23                   Cookies maintain tracking information on the user's computer that
                                                       may be referenced once the browser reloads the desired web page and
                                  24                   invoke[s] the application included therein. Once the application is
                                                       invoked, information that was previously entered and stored in the
                                  25                   cookie may be restored in the application.
                                  26
                                       ’745 Patent at 2:55-60; see ECF No. 593-4 at 4 (E*Trade order finding disclaimer based on this
                                  27
                                       this passage). Other parts of the specification are even clearer that “conventional state tracking
                                  28
                                                                                           3
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                                   1   methodologies,” such as cookies, “are limited in that prior state information is generally stored on

                                   2   the client computer 20 that previously invoked the session.” Id. at 25:55-61 (emphasis added).

                                   3   The distinction makes sense because the claimed “interactive link” restores operating states from a

                                   4   remote server, which makes them available even if the user moves to a different computer, a

                                   5   purported advantage of the invention.2 See id. at 25:24-27, 25:55-65.

                                   6            However, notwithstanding the descriptions in the specification, a broader disclaimer is

                                   7   appropriate. First, the E*Trade court expressly found that “new uses” of the disclaimed elements

                                   8   are forbidden. Droplets had argued that even though URLs, shortcuts, and other elements were

                                   9   disclaimed in the prosecution history, the meaning of those terms has changed and “it would have

                                  10   been impossible for Droplets to disclaim” elements having capabilities that did not exist at the

                                  11   time of prosecution. ECF No. 593-4 at 2, 4. The E*Trade court rejected this argument because

                                  12   while “clever people have figured out . . . new and creative ways in which to use” those elements,
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                                  13   the “meaning and understanding of those terms has not changed.” Id. Thus, the court found that

                                  14   Droplets disclaimed URLs, cookies, bookmarks, and related elements from being the “interactive

                                  15   link,” regardless of whether they were used in novel ways. Id. at 7. Accordingly, as explained in

                                  16   the claim construction confirmation order, collateral estoppel prevents the interactive link from

                                  17   using cookies to perform the claimed functions. ECF No. 749 at 6-7.

                                  18            Second, even if the Court were inclined to reconsider the E*Trade decision, it would not

                                  19   reach a different result. “A specification may disclaim an embodiment by repeatedly disparaging

                                  20   it.” Indivior Inc. v. Dr. Reddy’s Labs., S.A., 930 F.3d 1325, 1337-38 (Fed. Cir. 2019). It may do

                                  21   so even if the disparagement is based on specific characteristics. For instance, in Indivior, the

                                  22
                                       2
                                  23       The E*Trade court defined cookies based on extrinsic evidence as follows:

                                  24                    A cookie was and is a data file written to an internet user’s hard drive
                                                        containing information; its function is to allow a web site to track
                                  25                    information about a user, such as passwords, login information,
                                                        preferences, shopping cart contents, etc.
                                  26
                                       ECF No. 593-4 at 3. Yahoo claims that this definition encompasses storing user IDs locally to
                                  27   retrieve operating states from a remote server. ECF No. 770 at 14. However, a more plausible
                                       interpretation is that the listed examples refer to information entered into a form and other website
                                  28   modifications, consistent with the patent’s examples of operating states. ’740 Patent at 3:47-60.

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                                   1   specification disparaged “conventional top air drying” methods for creating pharmaceutical films

                                   2   because they are “unable to provide uniform films.” Id. at 1337. Although uniformity could be

                                   3   achieved in other ways, the court found that “other factors may not substitute for controlled drying

                                   4   of a wet cast film to achieve uniformity” and held that top drying methods were disclaimed. Id. at

                                   5   1338. Similarly, in SightSound Technologies, LLC v. Apple Inc., 809 F.3d 1307, 1316 (Fed. Cir.

                                   6   2015), the specification disparaged “records, tapes, and compact disks,” which it described as the

                                   7   “three basic mediums (hardware units) of music,” based on transferability and other factors. Id.

                                   8   (citing U.S. Patent No. 5,191,673 at 1:17-20). The PTO found that the statements did not raise to

                                   9   the level of disclaimer, and the Federal Circuit reversed: claims “must be read in view of the

                                  10   specification,” and the “disadvantages identified by the specification of records, tapes, and CDs

                                  11   amount to implied disclaimer of those three media.” Id. Tellingly, the court did not consider

                                  12   whether the disclaimed media could be made without the listed disadvantages.
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                                  13          Here, the specification disparages cookies as a means for restoring operating states because

                                  14   they are (1) “generally time sensitive and may expire before a user attempts to re-navigate the site

                                  15   of interest” and (2) “only stored on the computer where the original transaction occurred” so that if

                                  16   a user “accesse[s] the site from another computer, the tracking information is not available.” ’745

                                  17   Patent at 3:52-65. These statements and other disparagement in the specification indicate that the

                                  18   interactive link does not rely on cookies to restore previous operating states. Thus, even if cookies

                                  19   could be made to not expire, follow the user to different computer, and retrieve operating states

                                  20   from remote servers, they could still not be used for the interactive link functions consistent with

                                  21   the specification. Accordingly, the disclaimer extends to all uses of cookies to restore previous

                                  22   operating states, and the Court modifies the construction of “interactive link” as follows:

                                  23
                                                      computer code that (1) retrieves and presents applications and/or
                                  24                  information stored at remote locations across the network when selected
                                                      by an end user, and (2) includes facilities for restoring a particular user’s
                                  25                  previous operating states of the application as the application is re-
                                                      presented at a user’s computer. An interactive link cannot be a
                                  26                  bookmark, cookie, shortcut, hyperlink or Internet address (URL) or use
                                                      those elements to restore previous operating states.
                                  27
                                       ///
                                  28   ///
                                                                                           5
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                                   1   IV.    YAHOO’S MOTION FOR SUMMARY JUDGMENT

                                   2          Yahoo moves for summary judgment on two grounds. First, it claims that the accused

                                   3   “search suggest” does not “restor[e] a particular user’s previous operating state.” Second, it

                                   4   argues that the remaining accused products use cookies to restore previous operating states. ECF

                                   5   No. 769 at 2. The parties have submitted a motion, id.; opposition, ECF No. 775; reply, ECF No.

                                   6   780; sur-reply, ECF No. 790, and sur-sur-reply, ECF No. 794.

                                   7          A.      Preliminary Issues

                                   8          The Court addresses two preliminary issues. First, Droplets has submitted an expert

                                   9   declaration from Dr. Schmidt in opposition to summary judgment. ECF No. 775-2. Yahoo argues

                                  10   that the declaration cannot demonstrate a dispute of fact because it includes theories not found in

                                  11   his expert report. ECF No. 780 at 13-15. The Court agrees. An expert declaration is considered

                                  12   on summary judgment “to the extent it is either explicitly contained in [a] previously provided
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                                  13   expert report or a reasonable synthesis and/or elaboration of the opinions contained in that report.”

                                  14   Asia Vital Components Co., Ltd. v. Asetek Danmark A/S, 377 F. Supp. 3d 990, 1010 (N.D. Cal.

                                  15   2019) (simplified). Anything less is outside the scope of the report and therefore not admissible.

                                  16   Id. at 1002; see Orr v. Bank of Am., NT & SA, 285 F.3d 764, 773 (9th Cir. 2002) (“A trial court

                                  17   can only consider admissible evidence in ruling on a motion for summary judgment.”).

                                  18          Here, Dr. Schmidt’s declaration provides opinions about (1) the meaning of the term

                                  19   “operating state”; (2) three different ways in which search suggest customizes an operating state to

                                  20   a particular user, including by re-displaying previous search suggestions, through a “backspace”

                                  21   feature, and by changing search suggestions based on past searches; and (3) the use of cookies in

                                  22   the accused products. ECF No. 775-2 ¶¶ 4-5, 21-32, 33. Although some of these opinion include

                                  23   citations to an expert report, many are plainly new. For instance, much of the second opinion cites

                                  24   documents without a citation to an expert report or deposition. Id. ¶ 28. Thus, the Court

                                  25   disregards the new theories provided in the declaration.

                                  26          Second, the parties dispute the nomenclature of certain products. Droplets claims that

                                  27   search suggest includes two different functionalities: search history or “Type A Suggestions,”

                                  28   which display “the terms that the user has previously searched,” and search suggest or “Type B
                                                                                         6
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                                   1   Suggestions,” which display “new suggestions that have been influenced by the previous

                                   2   searches.” ECF No. 790 at 7-8. Yahoo agrees that “‘Search Suggest’ and ‘Search History’ are

                                   3   distinct functionalities.” ECF No. 780 at 6-7. However, it claims that Droplets improperly uses

                                   4   search history documents to describe search suggest functions. Id. Because the parties agree that

                                   5   these are different functions, the Court examines the evidence in light of the agreed-on distinction.

                                   6          B.      Restoring Previous Operating States

                                   7          Yahoo claims that search suggest does not restore a “particular user’s” operating state, as

                                   8   required by the claim construction of “interactive link,” because “each time the user changes the

                                   9   letters in the search bar, a new set of suggestions will appear,” which are “exactly the same for all

                                  10   similarly situated users” and have “nothing to do with what the particular user has done in the

                                  11   past.” ECF No. 769 at 13. Droplets responds that there is no “customization” requirement in the

                                  12   claims and that operating states are tailored to a particular user based on her past keystrokes, prior
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                                  13   searches, location, and device type. ECF No. 775 at 4.

                                  14          As explained in the order denying Nordstrom’s motion for summary judgment, the Court is

                                  15   not convinced that Droplets’ “past keystrokes” theory of restoring operating states fails as a matter

                                  16   of law. See ECF No. 792 at 11. As Dr. Schmidt explains, if a user searches for the word “test” on

                                  17   Yahoo Search and then deletes the letter “t,” the system will restore a previous operating state of

                                  18   search suggestions for the term “tes.” ECF No. 775-4 ¶ 25. A reasonable jury could find that this

                                  19   is tailored to a particular user, i.e., it’s her own previous search. Yahoo nevertheless argues that

                                  20   this is insufficient because the suggestions are “deterministic” such that “every similarly situated

                                  21   user will get the same result . . . while the system is utterly oblivious to what any given user

                                  22   entered or selected the last time.” ECF No. 769 at 15. But the “Stock Watcher” embodiment in

                                  23   the ’745 patent are also deterministic: if two users select the same stocks, they will see the same

                                  24   results.3 ’745 Patent at 25:28-55. Different users would not see different stock prices because the

                                  25
                                       3
                                  26     Yahoo relies on the E*Trade summary judgment order, which found no infringement because the
                                       defendant’s search suggestions were not “actively customize[d]” by the user” or “prior searches
                                  27   conducted by the user.” ECF No. 769-2 at 16. However, this case involves different products and
                                       Droplets makes arguments not apparently addressed in E*Trade. See id. Thus, the E*Trade order
                                  28   is persuasive authority only, and Yahoo does not explain why the search suggestions in this case
                                       do not infringe as a matter of law.
                                                                                       7
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                                   1   purpose is to provide objective stock information. As with Nordstrom’s motion, Yahoo has not

                                   2   shown that any more customization is required.

                                   3          Moreover, Droplets cites evidence that search suggestions in this instance depend partly on

                                   4   the user’s past searches. Yahoo’s 30(b)(6) witness for search suggest, Sarah Forth-Smith, testified

                                   5   that a user’s keystrokes are “temporarily cached” in the search suggest database and “used as an

                                   6   input to make sure [Yahoo is] providing the most relevant search suggestions.” ECF No. 775-11

                                   7   at 105:2-12. For instance, “if the user has hit backspace,” the system “would take the piece of

                                   8   information into account when ranking the . . . search suggestion.” Id. at 105:17-21. Although

                                   9   she testified that search suggest is generally “stateless,” the testimony indicates “special handling”

                                  10   where backspace “is used as a signal to surface the most relevant results or suggestions.” Id. at

                                  11   110:22-11:17, 147:5-15; see also ECF No. 775-22 at 28 (describing “backspace rewrite”). Thus, a

                                  12   reasonable jury could find that “past keystroke” processing in search suggest satisfies the claim
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                                  13   limitation even under Yahoo’s interpretation.

                                  14          As for Droplets’ other theories, it is not clear whether Droplets will be able to assert them

                                  15   at trial. Droplets cites Yahoo documents that refer to search suggest using previous search queries

                                  16   to provide a “contextual signal to get personalized/contextual suggestions.” ECF No. 775-18 at

                                  17   26. Droplets also cites Yahoo emails stating that “we leverage a user’s personal search history to

                                  18   influence the search suggestions they get exposed to – both influencing in-session suggestions,

                                  19   and determining the suggestions a user is exposed to when he moves his cursor to an empty search

                                  20   box.” ECF No. 775-22 at 3; cf. ECF No. 775-25 at 5.4 However, Dr. Schmidt apparently did not

                                  21   cite these documents in his report, and Yahoo claims that the theory was not disclosed in Droplets’

                                  22   infringement contentions. Although Dr. Schmidt referenced tailoring search suggestions based on

                                  23   location and device type, he did not provide this opinion in relation to restoring operating states.

                                  24   E.g., ECF No. 776-7 ¶ 81. Accordingly, at this stage, the Court denies summary judgment based

                                  25

                                  26   4
                                        Yahoo claims that that these emails refer to search history, not search suggest. However, the
                                  27   heading of the first email is “Search Assist,” and it expressly discusses the impact of a search
                                       history changes on search assist. See ECF No. 775-22 at 3 (“The net impact [from search history
                                  28   changes] to Search Assist would be whether or not a user’s search history can used in determining
                                       personalized suggestions.”). Drawing all inferences in favor of Droplets, this is search suggest.
                                                                                         8
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                                   1   on the “past keystroke” theory only.

                                   2          For these reasons, summary judgment on this issue is denied.

                                   3          C.      Use of Cookies

                                   4          Yahoo also moves for summary judgment based on the use of cookies to restore operating

                                   5   states. The relevant operation in the accused products is not disputed: the interactive link restores

                                   6   previous operating states from a remote server using “B cookies” that store user IDs necessary to

                                   7   retrieve user information.5 ECF No. 769 at 12-12; ECF No. 777 at 22-23. For instance, search

                                   8   history uses login information for users who are logged in and B cookies for those who are not to

                                   9   track users across devices and restore their information from a server. ECF No. 775-11 at 138:22-

                                  10   140:26; ECF No. 769-5 at 21-22. Yahoo claims that this constitutes restoring previous operating

                                  11   states using a cookie, as prohibited by the claim construction for “interactive link.”

                                  12          Although Yahoo’s construction of the claim term is correct, the Court is not convinced that
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                                  13   the peripheral use of cookies in this instance defeats infringement. The specification of the ’745

                                  14   Patent describes “persistent state maintenance” as follows:

                                  15
                                                      In accordance with the present invention, the application
                                  16                  server 40 maintains state information 48 regarding current operating
                                                      states of each droplet-enabled application in the data store 640 on the
                                  17                  application server 40 (FIGS. 1 and 8). The state information 48 is
                                                      kept after the application is terminated. The state
                                  18                  information 48 includes a user identification field such that operating
                                                      state information 48 for a particular user is retrievable from the data
                                  19                  store 640. It should be appreciated that the present invention
                                                      contemplates a sign-on procedure or similar mechanism wherein a
                                  20                  user registers prior to beginning a session. Accordingly, state
                                                      information corresponding to a operating session of the user may be
                                  21                  identified by a user id or the like. As registration procedures are
                                                      generally known, further details of the procedures are not further
                                  22                  discussed herein. Rather, it should be appreciated that such a
                                                      registration procedure is within the scope of the present invention.
                                  23

                                  24   ’745 Patent at 24:61-25:10.

                                  25          As the parties agree, the recited state maintenance is similar to that in the accused products.

                                  26   As in the asserted patent, the products store and retrieve operating states from a remote server. As

                                  27
                                       5
                                  28     The parties agree that search suggest does not use cookies; this aspect of the motion applies only
                                       to the remaining products of search history, Mail, My Yahoo, and Maps. ECF No. 769 at 12.
                                                                                         9
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                                   1   in the asserted patent, they use login information where available to identify the user. The main

                                   2   difference between the products and the patent is that the products also use cookies to store user

                                   3   IDs. But the specification suggests that user identification methods (such as registration) are

                                   4   “generally known” and not central to the claimed invention. See id. It also does not indicate that

                                   5   these mechanisms for identifying users are part of restoring operating states. It is thus not clear

                                   6   that using cookies to store user IDs in order to identify users implicates this limitation.

                                   7           Yahoo relies on evidence from E*Trade proceedings to suggest that this use of cookies is

                                   8   disclaimed. First, Yahoo cites the E*Trade summary judgment order that found “new uses” of

                                   9   URLs and other elements do not defeat disclaimer. See ECF No. 593-4 at 4. The E*Trade court

                                  10   had defined cookies as follows:

                                  11                  A cookie was and is a data file written to an internet user’s hard drive
                                                      containing information; its function is to allow a web site to track
                                  12                  information about a user, such as passwords, login information,
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                                                      preferences, shopping cart contents, etc.
                                  13

                                  14   Id. at 3. Yahoo claims that this shows that storing user information (“login information”) is a

                                  15   disclaimed use of cookies.6 Second, it cites the expert declaration submitted on behalf of E*Trade

                                  16   that references using cookies to store user IDs for tracking. ECF No. 769-16 ¶ 29. Third, Yahoo

                                  17   cites testimony that the named inventors of the ’745 Patent did not invent using cookies to store

                                  18   identifying information, which was known at the time of the application. See ECF No. 769-12 at

                                  19   74:11-75:20; ECF No. 769-15 at 155:21-157:2. Last, it cites inventor testimony stating that the

                                  20   invention did not use cookies. See ECF No. 769-13 at 189:3-8; ECF No. 769-14 at 164:24-165:3.

                                  21           Although this presents a close question, the Court finds that a reasonable jury could find

                                  22   that using cookies to store user IDs does not implicate the disclaimer. As explained above, the

                                  23   parties agree that the disclaimer extends only to using cookies “to restore previous operating

                                  24   states” – not to all possible uses. ECF No. 770 at 15. The E*Trade court did not find otherwise

                                  25   since it only considered use of cookies in relation to the claimed invention. As such, a reasonable

                                  26
                                  27
                                       6
                                         Yahoo’s interpretation of this definition is not convincing. “Login information” plausibly refers
                                       to information entered into a form, which is consistent with the other elements of the list and the
                                  28   example of operating states provided in the specification. See ’745 Patent at 3:47-60. There is no
                                       mention of storing user IDs for background operations.
                                                                                          10
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                                   1   jury could find that the use here does not constitute “restoring operating states” because it is only a

                                   2   peripheral use of cookies to perform the equivalent function of obtaining user log-in.

                                   3          Accordingly, summary judgment on this issue is denied.

                                   4                                                   CONCLUSION

                                   5          For the foregoing reasons, the Court modifies the construction of “interactive link” as

                                   6   follows:
                                                      computer code that (1) retrieves and presents applications and/or
                                   7                  information stored at remote locations across the network when selected
                                                      by an end user, and (2) includes facilities for restoring a particular user’s
                                   8                  previous operating states of the application as the application is re-
                                                      presented at a user’s computer. An interactive link cannot be a
                                   9                  bookmark, cookie, shortcut, hyperlink or Internet address (URL) or use
                                                      those elements to restore previous operating states.
                                  10

                                  11          Yahoo’s motion for summary judgment is denied.

                                  12          IT IS SO ORDERED.
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 United States District Court




                                  13   Dated: July 27, 2021
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                                                                                                        JON S. TIGAR
                                  15                                                              United States District Judge

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